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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN


                                 SOUTHERN DIVISION


In re:
                                                   Docket No. 18-00748-swd
James C. McDaniel and Amy L.                       Chapter 7
McDaniels,                                         Hon. Scott W. Dales
         Debtors.
                                         /


                                        ORDER

                     At a session of this Honorable Court held in
                     Grand Rapids, Michigan on __________ _.

                     Present:     Hon. Scott W. Dales
                                  United States Bankruptcy Judge

         This matter having come before the Court on the ExParte Motion to Extend Time

for Entry of Reaffirmation Agreement, and this Court being fully advised of the facts and

circumstances of this case,

         IT IS ORDERED that the time for the Debtors to enter into a reaffirmation

agreement with respect to 1805 Wesley Place, Lansing, MI 48906 is extended 45 days

from the date of this order.

                                     End of Order

Prepared by:

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